









Dismissed and Memorandum Opinion filed August 25, 2005









Dismissed and Memorandum Opinion filed August 25,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00665-CV

____________

&nbsp;

TUNEUP MASTERS, INC.,
Appellant

&nbsp;

V.

&nbsp;

MARVIN DARNELL HAWKINS,
Appellee

&nbsp;



&nbsp;

On Appeal from the
127th District Court

Harris County, Texas

Trial Court Cause No.&nbsp; 04-36847

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment signed March 4, 2005.

On August 15, 2005, appellant filed a motion to dismiss the
appeal because the case has been settled.&nbsp;
See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly, the appeal is ordered dismissed.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed August 25, 2005.

Panel consists of Justices Hudson,
Frost, and Seymore.

&nbsp;





